                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:16-cv-00507-FDW
                                (3:10-cr-00087-FDW-8)

KATRINA GOULD,                      )
                                    )
            Petitioner,             )
                                    )
                 v.                 )                                 ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)

        THIS MATTER is before the Court on consideration of Petitioner’s pro se motion for

permission to file a successive motion to vacate, set aside or correct sentence pursuant to 28

U.S.C. § 2255.

                                         I.      BACKGROUND

        On October 27, 2010, Petitioner pleaded guilty pursuant to a plea agreement to one count

of conspiracy to possess with intent to distribute cocaine base, in violation of 21 U.S.C. §§ 846

and 841(a). Petitioner was sentenced to a term of 120-months’ imprisonment and her counsel did

not file an appeal. In May 2012, Petitioner filed a pro se § 2255 motion to vacate in which she

raised claims of ineffective assistance of counsel. In particular, Petitioner argued that she was

entitled to relief because her trial counsel failed to file a direct appeal despite her assertion that

she instructed him to do so. The Government filed a response to the § 2255 motion conceding

that Petitioner stated an actionable claim of ineffective assistance counsel because the sworn

evidence presented by Petitioner tended to show that her counsel had failed to file the direct

appeal even though she instructed him to do so. The Court agreed and vacated her criminal


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judgment and entered an amended judgment from which Petitioner filed a direct appeal. (3:12-

cv-00321-FDW).

         On appeal, Petitioner’s counsel filed a brief pursuant Anders v. California, 386 U.S. 738

(1967), but nevertheless raised the issue of whether Petitioner received ineffective assistance of

counsel in failing to challenge Petitioner’s prior conviction which was used to enhance her

sentence pursuant to 21 U.S.C. §§ 841(b)(1)(A)-(C).1 The Court rejected this argument after

noting that Petitioner’s prior conviction qualified as a “felony drug offense” under 21 U.S.C. §

802(44) because she received a sentence in excess of one year. The Court also granted the

Government’s motion to dismiss the remaining issues based on Petitioner’s waiver provision in

her plea agreement, and Petitioner’s judgment was affirmed in all respects in an unpublished

opinion. See United States v. Gould, 564 F. App’x 696 (4th Cir. 2014).

                                      II.      STANDARD OF REVIEW

         Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable authority and concludes

that this matter can be resolved without an evidentiary hearing. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).

                                              III.     DISCUSSION

         The Antiterrorism and Effective Death Penalty Act provides, in relevant part, that “[a]

second or successive motion [under Section 2255] must be certified as provided in Section 2244


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  Petitioner filed a supplemental pro se brief which raised additional issues; however the Court found that the issues
lacked merit.

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by a panel of the appropriate court of appeals to contain—

        (1) newly discovered evidence that, if proven and viewed in light of the evidence
            as a whole, would be sufficient to establish by clear and convincing evidence
            that no reasonable factfinder would have found the movant guilty of the
            offense; or

        (2) a new rule of constitutional law, made retroactive to cases on collateral
            review by the Supreme Court, that was previously unavailable.

28 U.S.C. § 2255(h).

       Petitioner’s initial motion to vacate was granted in part and dismissed without prejudice

in part; therefore the present § 2255 motion to vacate is not successive and the Court will

therefore consider the merits of her claims.

       Petitioner first contends that she is entitled to relief based on the Supreme Court’s recent

decision in Johnson v. United States, 135 S. Ct. 2551 (2015), in which the Court held that the

residual clause of the Armed Career Criminal Act (ACCA), 18 U.S.C. § 924(e), was void for

vagueness and therefore unconstitutional. (3:16-cv-00507, Doc. No. 1 at 1). This argument is

without merit as Petitioner was not sentenced pursuant to § 924(e).

       Petitioner next contends she is entitled to sentencing relief based on the Fourth Circuit’s

en banc decision in United States v. Simmons, 649 F.3d 237 (4th Cir. 2011). In Simmons, the

Fourth Circuit held that in order for a prior felony conviction to serve as a predicate offense to

enhance a sentence under federal law, the individual defendant must have been convicted of an

offense for which that defendant could be sentenced to a term exceeding one year under North

Carolina law. Simmons, 649 F.3d at 243 (emphasis added) (examining North Carolina’s

Structured Sentencing Act). In reaching this holding, the Simmons Court expressly overruled

United States v. Harp, 406 F.3d 242 (4th Cir. 2005), which held that in determining “whether a



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conviction is for a crime punishable by a prison term exceeding one year [under North Carolina

law] we consider the maximum aggravated sentence that could be imposed for that crime upon a

defendant with the worst possible criminal history.” Id. (quoting Harp, 406 F.3d at 246)

(emphasis omitted).

       Petitioner’s counsel raised the substance of this argument on direct appeal by contending

that Petitioner’s North Carolina drug conviction that was used to enhance her sentence pursuant

to 21 U.S.C. § 841(b)(1)(A)-(C) may not qualify as a felony drug offense. As noted, the Court

rejected this argument after finding that Petitioner’s drug conviction subjected her to more than

one year in prison. In fact, the Court observed that Petitioner was sentenced to a term of two

years in prison on the drug conviction. Gould, 564 F. App’x at 697-98. See (3:10-cr-00087, Doc.

No. 166: Presentence Report ¶ 31). Accordingly, because Petitioner was sentenced to in excess

of one year, her argument for relief based on United States v. Simmons is plainly without merit.

                                      IV.     CONCLUSION

       IT IS, THEREFORE, ORDERED that Petitioner’s § 2255 Motion to Vacate is

DISMISSED with prejudice. (Doc. No. 1).

       IT IS FURTHER ORDERED that Petitioner’s motion for extension of time to file her §

2255 motion to vacate is DISMISSED as moot. (3:10-cr-00087-FDW-8, Doc. No. 334).

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional



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claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding that when

relief is denied on procedural grounds, a petitioner must establish both that the correctness of the

dispositive procedural ruling is debatable, and that the petition states a debatably valid claim of

the denial of a constitutional right).

        The Clerk is respectfully directed to close this civil case.

        SO ORDERED.


                                             Signed: July 1, 2016




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